  Case 4:22-cr-40007-JPG Document 23 Filed 08/15/22 Page 1 of 1 Page ID #38




                     UNITED STATES DISTRICT COURT
                                            for the
                                   Southern District of Illinois


UNITED STATES OF AMERICA

                   Plaintiff,

                      vs.                         Case Number: 22 CR 40007 JPG

MICHAEL E. PIERCE

                  Defendant.


            ORDER GRANTING TEMPORARY MODIFICATION OF BOND

       THIS MATTER is before the Court on Counsel’s Motion to Temporary Modification of

Bond Conditions. ECF No. 21. The Court, having been fully advised in the premises, finds as

follows:

       1.      Defendant Pierce’s bond shall be temporarily modified to allow travel outside the

Southern District of Illinois from Friday, September 9, 2022, through Sunday, September 11,

2022. Specifically, Mr. Pierce may travel to visit his mother in Machesney Park, Illinois.

Specific hours of travel are to be approved by probation. Mr. Pierce will provide probation with

his mother’s address where he will reside while visiting her.

       2.      All remaining terms and conditions of bond remain in effect.

       IT IS SO ORDERED.

       Dated this 15th day of August 2022.

                                                     ___________________________
                                                     _______________________________
                                                                            _
                                                     REONA J. DALY
                                                     UNITED STATES MAGISTRATE JUDGE
